Case 2:23-cv-00443-JRG Document 71 Filed 03/01/24 Page 1 of 8 PageID #: 1103




                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TEXAS
                              MARSHALL DIVISION

VALTRUS INNOVATIONS LTD,                     § CASE NO. 2:23-cv-00443-JRG
                                             §      (Lead Case)
              Plaintiff,                     §
                                             § JURY TRIAL DEMANDED
       v.                                    §
                                             §
AT&T INC., et al                             §
            Defendants.                      §
                                             §
                                             §

VALTRUS INNOVATIONS LTD,                     § CASE NO. 2:23-cv-00444-JRG
                                             §      (Member Case)
              Plaintiff,                     §
                                             § JURY TRIAL DEMANDED
       v.                                    §
                                             §
T-MOBILE USA, INC., et al                    §
          Defendants.                        §
                                             §
                                             §

VALTRUS INNOVATIONS LTD,                     § CASE NO. 2:23-cv-00445-JRG
                                             §      (Member Case)
              Plaintiff,                     §
                                             § JURY TRIAL DEMANDED
       v.                                    §
                                             §
VERIZON COMMUNICATIONS, INC.,                §
et al                                        §
          Defendants.                        §
                                             §


                           ORDER REGARDING E-DISCOVERY

The Court ORDERS as follows:
       1.      This order supplements all other discovery rules and orders. It streamlines

Electronically Stored Information (“ESI”) production to promote a “just, speedy, and

inexpensive determination” of this action, as required by Federal Rule of Civil Procedure 1.

                                               1
Case 2:23-cv-00443-JRG Document 71 Filed 03/01/24 Page 2 of 8 PageID #: 1104




           2.   This Order may be modified in the court’s discretion or by agreement of the

 parties. If the parties cannot resolve their disagreements regarding these modifications, the

 parties shall submit their competing proposals and a summary of their dispute.

           3.   A party’s meaningful compliance with this order and efforts to promote

 efficiency and reduce costs will be considered in cost-shifting determinations.

           4.   Absent a showing of good cause, general ESI production requests under Federal

 Rules of Civil Procedure 34 and 45, or compliance with a mandatory disclosure requirement of

 this Court, shall not include metadata. However, metadata fields listed in Appendix A shall be

 included in the production if such fields exist.

           5.   Absent agreement of the parties or further order of this court, the following

 parameters shall apply to ESI production 1:

                a.      General Document Image Format. Each electronic document shall be

 produced in single-page Tagged Image File Format (“TIFF”) format or native format. Each

 electronic document produced in native or TIFF format shall be single page and shall be named

 with a unique production number followed by the appropriate file extension. Load files shall

 be provided to indicate the location and unitization of the TIFF files, as applicable. If a document

 is more than one page, the unitization of the document and any attachments and/or affixed notes

 shall be maintained as they existed in the original document.

                b.      Text-Searchable Documents. If a party’s documents already exist in



       1
          To the extent their productions of ESI pre-dating the Court’s entry of this Order do not
comply with the requirements set forth in this Order, the parties further agree to re-produce
metadata associated with such past productions in a form that is compliant with the requirements
of this order within fourteen (14) days of the Court’s entry of this Order.



                                                    2
Case 2:23-cv-00443-JRG Document 71 Filed 03/01/24 Page 3 of 8 PageID #: 1105




text- searchable format independent of this litigation, or are converted to text-searchable format

for use in this litigation, including for use by the producing party’s counsel, then such documents

shall be produced in the same text-searchable format at no cost to the receiving party.

               c.      Footer. Each document image shall contain a footer with a sequentially

ascending production number. Native files produced by a party shall include the Bates number

in its file name and/or be produced with a slipsheet that denotes the confidentiality designation

and bates number.

               d.      Native Files. Documents that would not be reasonably legible in image

or near-native format, and documents that would be incomplete in image or near-native format,

should be produced as native files. Spreadsheets (e.g., MS Excel, Google Sheets) and delimited

text files (e.g. comma-separated value (.csv) files and tab-separated value (.tsv) files) shall be

produced in either their native file format or MS Excel. A party that receives a document

maintained in a format specified above may make a reasonable request to receive the document

in its native format, and upon receipt of such a request, the producing party shall produce the

document in its native format.

               e.      No Backup Restoration Required. Absent a showing of good cause, no

party need restore any form of media upon which backup data is maintained in a party’s normal

or allowed processes, including but not limited to backup tapes, disks, SAN, and other forms of

media, to comply with its discovery obligations in the present case.

               f.      Voicemail and Mobile Devices. Absent a showing of good cause,

voicemails, PDAs and mobile phones are deemed not reasonably accessible and need not be

collected and preserved.

               g.      Translations. All documents shall be produced in their original



                                                3
Case 2:23-cv-00443-JRG Document 71 Filed 03/01/24 Page 4 of 8 PageID #: 1106




 language. Where a requested document exists in a foreign language and the producing party also

 has one or more English-language version(s) of that document created in the ordinary course of

 business and located as part of the reasonable search for the foreign language document, the

 producing party shall produce the foreign language versions and the English-language version(s)

 of that document. In addition, if the producing party has or obtains during the course of this

 action a certified translation of a foreign-language document the producing party shall produce

 both the original document and the certified translation promptly after the translation is obtained

 by the producing party. Nothing in this paragraph obligates a party to produce certified

 translations of any documents that will not be relied upon before the Court.

           6.   General ESI production requests under Federal Rules of Civil Procedure 34 and

 45, or compliance with a mandatory disclosure order of this court, shall not include e-mail or

 other forms of electronic correspondence (collectively “e-mail”). To obtain e-mail parties must

 propound specific e-mail production requests.

           7.   E-mail production requests shall be phased to occur timely after the parties have

 exchanged initial disclosures, a specific listing of likely e-mail custodians, and a specific

 identification of the fifteen most significant listed e-mail custodians in view of (a) the pleaded

 claims and defenses (excluding issues concerning venue), 2 (b) infringement contentions and

 accompanying documents pursuant to P.R. 3-1 and 3-2, (c) invalidity contentions and

 accompanying documents pursuant to P.R. 3-3 and 3-4, and (d) preliminary information relevant

 to damages. Each requesting party may also propound up to five written discovery requests and


       2
          A “specific identification” requires a short description of why the custodian is believed
to be significant. Further, if a party makes a good faith attempt to locate e-mail custodians who
are likely to have non-cumulative information relevant to the claims or defenses but cannot identify
fifteen such custodians, that party shall list as many custodians as practicable.

                                                 4
Case 2:23-cv-00443-JRG Document 71 Filed 03/01/24 Page 5 of 8 PageID #: 1107




take one deposition per producing Side, if necessary, to identify the proper custodians, proper

search terms, and proper time frame for e-mail production requests. (For the purposes of this

Order, “Side” means a party or group of parties with a common interest with respect to this

lawsuit, with one Side consisting of Plaintiff and another Side consisting of each of the following

Related Defendant Groups: (1) T-Mobile USA, Inc., T-Mobile US, Inc., Sprint Corp.; (2)

OnePlus Technology (Shenzen) Co., Ltd., OnePlus Mobile Communications (Guangdong) Co.,

Ltd.; (3) Verizon Communications Inc., and Cellco Partnership, d/b/a Verizon Wireless). 3 The

court may allow additional discovery upon a showing of good cause.

          8.     E-mail production requests shall identify the custodian, search terms, and time

frame. The parties shall promptly cooperate to identify the proper custodians, proper search

terms, and proper time frame. E-mail production requests shall be limited to a total of eight

custodians for each of Verizon and T-Mobile Defendant Groups and a total of four custodians

for each of Valtrus and the OnePlus Related Defendant Group for all such requests. The parties

may jointly agree to modify this limit without the court’s leave. The court shall consider contested

requests for additional or fewer custodians per producing Side, upon showing a distinct need

based on the size, complexity, and issues of this specific case.

          9.     Each Side shall limit its e-mail production requests to a total of ten search terms

per custodian per party. The parties may jointly agree to modify this limit without the court’s

leave. The court shall consider contested requests for additional or fewer search terms per

custodian, upon showing a distinct need based on the size, complexity, and issues of this specific

case. The search terms shall be narrowly tailored to particular issues. Indiscriminate terms, such



      3
          For the avoidance of doubt, each Related Defendant Group is separately a Side.

                                                  5
Case 2:23-cv-00443-JRG Document 71 Filed 03/01/24 Page 6 of 8 PageID #: 1108




as the producing company’s name or its product name or service name, are inappropriate unless

combined with narrowing search criteria that sufficiently reduce the risk of overproduction. A

conjunctive combination of multiple words or phrases (e.g., “computer” and “system”) narrows

the search and shall count as a single search term. A disjunctive combination of multiple words

or phrases (e.g., “computer” or “system”) broadens the search, and thus each word or phrase

shall count as a separate search term unless they are variants of the same word. Use of narrowing

search criteria (e.g., “and,” “but not,” “w/x”) is encouraged to limit the production and shall be

considered when determining whether to shift costs for disproportionate discovery. After

exchanging search terms, but prior to producing emails, the Parties shall promptly confer in

good faith to ensure that the total number of hits per search term (including search terms in native

language) and temporal limits for each custodian are reasonable and in the event the total number

of hits for a date range for a single custodian are unreasonably excessive , the Parties shall confer

to reduce the number of hits to a reasonable number and/or confine the date range to a reasonable

time period.

         10.   The parties shall endeavor to produce email attachments sequentially after the

parent email and to identify, via metadata, the email attachments as the children of the parent

email.

         11.   Pursuant to Federal Rule of Evidence 502(d), the inadvertent production of a

privileged or work product protected ESI is not a waiver in the pending case or in any other federal

or state proceeding.

         12.   The mere production of ESI in a litigation as part of a mass production shall not

itself constitute a waiver for any purpose.

         13.   Except as expressly stated, nothing in this order affects the parties’ discovery

                                                 6
Case 2:23-cv-00443-JRG Document 71 Filed 03/01/24 Page 7 of 8 PageID #: 1109




obligations under the Federal or Local Rules.

   So ORDERED and SIGNED this 1st day of March, 2024.




                                                    ____________________________________
                                                    RODNEY GILSTRAP
                                                    UNITED STATES DISTRICT JUDGE




                                                7
Case 2:23-cv-00443-JRG Document 71 Filed 03/01/24 Page 8 of 8 PageID #: 1110




                                 APPENDIX A

                     Field Name
                     Bates Beg
                     Bates End
                     Bates Beg Attach
                     Bates End Attach
                     Custodian
                     All Custodians
                     Number of Attachments
                     Page Count
                     File Extension
                     File Size
                     File Name
                     File Type
                     Record Type
                     Created Date/Time
                     Last Modified Date/Time
                     Sent Date/Time
                     Email Received Date/Time

                     Author
                     Last Saved By
                     Email From
                     Email To
                     Email CC
                     Email BCC
                     Email Subject
                     Document Subject
                     Document Title
                     MD5 Hash
                     Time Zone Field
                     Text Path
                     Native File Link




                                        8
